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                                                                   FILED & ENTERED

                                                                        JAN 07 2019

                                                                    CLERK U.S. BANKRUPTCY COURT
                           UNITED STATES BANKRUPTCY COURTCentral District of California
                                                                    BY evangeli DEPUTY CLERK

                           CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION


In re                                             Case No. 2:18-20151-ER
                                                  Adv. No. 2:19-ap-01002-ER
Verity Health System of California,               Chapter     11
Inc.,
                 Debtor.
______________________ ____     _
St Vincent Medical Center, a                      SCHEDULING ORDER
California nonprofit public benefit
corporation; St Francis Medical
Center, a California nonprofit
public benefit corporation,

                      Plaintiff,
v.


Local Initiative Health Authority
for Los Angeles County DBA L.A. Care
Health Plan, an independent local
public agency,

                      Defendant.
             This adversary proceeding having been assigned to the
undersigned judge, IT IS HEREBY ORDERED:

     1) The following dates shall apply to this proceeding:
        a) A status conference is set for 03/12/2019 at 10:00 a.m. A Joint
          Status Report must be submitted by no later than fourteen days
          prior to the hearing.


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      b) The last day to amend pleadings and/or join other parties is
          04/11/2019.
      c) The last day to disclose expert witnesses and expert witness
          reports is 07/30/2019.
      d) The last day to disclose rebuttal expert witnesses and rebuttal
          expert witness reports is 08/29/2019.
      e) The last date to complete discovery relating to expert witnesses
          (e.g., depositions of expert witnesses), including hearings on
          motions related to expert discovery, is 09/17/2019.1
      f) The last day for dispositive motions to be heard is 09/24/2019.2
      g) The last day to complete discovery (except as to experts),
          including hearings on discovery motions, is 09/28/2019.3
      h) A Pretrial Conference is set for 10/15/2019 at 11:00 a.m. By no
          later than fourteen days prior to the Pretrial Conference, the
          parties must submit a Joint Pretrial Stipulation via the Court’s
          Lodged Order Upload (LOU) system. Submission via LOU allows the
          Court to edit the Joint Pretrial Stipulation, if necessary. Parties
          should consult the Court Manual, section 4, for information about
          LOU.
      i) Trial is set for the week of 10/28/2019 The trial day commences at
          9:00 a.m. The Court’s courtroom deputy will contact counsel 2–3
          weeks prior and advise counsel which day of the week the matter




1 For contemplated hearings on motions related to expert discovery, it is counsel’s
responsibility to check the Judge’s self-calendaring dates, posted on the Court’s
website. If the expert discovery cutoff date falls on a date when the court is closed or
that is not available for self-calendaring, the deadline for hearings on expert discovery
motions is the next closest date which is available for self-calendaring.
2 If the motion cutoff date is not available for self-calendaring, the deadline for

dispositive motions to be heard is the next closest date which is available for self-
calendaring. See footnote 1.
3 If the non-expert discovery cutoff date is not available for self-calendaring, the

deadline for non-expert discovery motions to be heard is the next closest date which is
available for self-calendaring. See footnote 1.


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          will be tried. Consult the Court’s website for the Judge’s
          requirements regarding exhibit binders and trial briefs.

   2) Unless otherwise ordered, the status conference and pretrial shall be
      conducted by telephone conference.        All requests to conduct the
      status conference and/or pretrial in person shall be made in a
      written application filed with the court and served upon the parties
      not later than 5 court days prior to the status conference and
      pretrial.

   3) This order applies to counsel for all parties and persons not
      represented by counsel.      ALL COUNSEL AND PARTIES MUST COMPLY WITH
      LOCAL RULES 7016-1(a)(2)& (3) WHICH REQUIRE THE FILING OF A JOINT
      STATUS REPORT AT LEAST FOURTEEN DAYS BEFORE THE STATUS CONFERENCE OR
      UNILATERAL STATUS REPORTS AT LEAST SEVEN DAYS BEFORE THE STATUS
      CONFERENCE.    IF NOT SO SERVED, OR SERVED LATE, THE COURT MAY SUA
      SPONTE ISSUE SANCTIONS AS SET FORTH IN LOCAL RULE 7016-1(f),
      INCLUDING, BUT NOT LIMITED TO, THE IMPOSITION OF MONETARY SANCTIONS
      OR ENTERING JUDGMENT AGAINST THE NON-COMPLYING PARTY.

   4) Unless otherwise ordered, all applicable Local Bankruptcy Rules
      continue to apply as set forth in the EARLY MEETING OF COUNSEL, JOINT
      STATUS CONFERENCE INSTRUCTIONS, which is attached and incorporated
      herein by this reference.        In particular, all parties shall review
      the Third Amended General Order No. 95-01 ("Adoption of Mediation
      Program for Bankruptcy Cases and Adversary Proceedings"), located on
      the Court’s website.

   5) Plaintiff shall serve a copy of this order as well as the EARLY
      MEETING OF COUNSEL, JOINT STATUS CONFERENCE INSTRUCTIONS on all
      parties along with the summons and complaint.        PROOF OF SERVICE OF



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      THE SUMMONS AND COMPLAINT MUST INDICATE THAT SUCH COPIES WERE SERVED
      IN ACCORDANCE WITH THIS ORDER.

   6) Any party contesting this Court’s authority to enter a final order or
      judgment in this matter must file and serve a written objection no
      later than ten days prior to the date set for the first status
      conference. See Wellness Int’l Network, Ltd. v. Sharif, 135 S. Ct.
      1932 (2015).        Failure to raise the issue in accordance with the
      requirements set forth above will be deemed consent to this court’s
      authority to enter a final order or judgment.        If an objection is
      filed and served the Court may set a hearing date and a briefing
      schedule.      Alternatively, the Court may rule on the objection without
      a hearing.
                                           ###




           Date: January 7, 2019




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      REVISED EARLY MEETING OF COUNSEL, JOINT STATUS CONFERENCE INSTRUCTIONS

      1. A COPY OF THESE INSTRUCTIONS MUST BE ATTACHED TO THE COPY OF THE COMPLAINT
      SERVED UPON EACH PARTY, AND THE PROOF OF SERVICE OF THE SUMMONS AND
      COMPLAINT MUST INDICATE THAT SUCH COPY WAS SERVED THEREWITH.

      2. These instructions apply only to parties represented by counsel. If you do not have an
      attorney you must appear at the status conference in person.

      3. This status conference will be conducted by telephone at the date and time shown on the summons.
      Telephone appearances for status conference will be arranged through Court Call™ pursuant to the
      attached Instructions for Telephonic Appearances. Court Call is an independent conference call
      company that arranges conference calls on a national and international basis for business. It has no
      business connection with this court.

      4. If the proceeding involves money or property exceeding $10,000.00 or if the plaintiff believes trial time
      will be four hours or more, plaintiff must serve, with the summons and complaint, a notice that compliance
      with Local Rule 7026-1 is required. Plaintiff must also file proof of service of the notice with proof of service
      of the summons and complaint.

      5. If Local Rule 7026-1 applies, counsel for the parties MUST TIMELY MEET TO DISCUSS
      SETTLEMENT AND TO EXCHANGE DOCUMENTS, OTHER EVIDENCE, AND LISTS OF WITNESSES
      AND PRELIMINARY DISCOVERY SCHEDULES AS PROVIDED IN SAID RULE.

      6. Unless all defendants have defaulted, the parties shall file a Form F7016.1.1 Joint Status Report
      pursuant to Local Rule 7016-1(a)(2) at least 14 days before the date of the status conference. If Local
      Rule 7026-1 applies, the parties must include in the Joint Status Report a statement that they have met to
      discuss settlement and have exchanged documents, other evidence, lists of witnesses and preliminary
      discovery schedules. If the parties request dates for discovery cut-off, pre-trial or trial other than those
      ordered herein, this request shall be made in the Joint Status Report.

      7. If no response to the complaint is timely filed, plaintiff may request entry of default by the clerk or by
      the court. Plaintiff may also request entry of a default judgment by filing and serving an appropriate
      motion, see FRBP Rule 7055 and Local Rule 7055.

      8. If the parties dispute whether the adversary proceeding is "core" or "non-core," they shall file points
      and authorities in support of their positions. Any party that contends the proceeding is "non-core" shall
      file and serve its points and authorities at least 14 days before the status conference. Any response
      must be filed and served at least seven days before the status conference.

      9. Failure to comply with these instructions including the failure to timely file a joint status report will
      subject the responsible party to monetary sanctions, without a further hearing.

      10. Failure of counsel for any party to appear at a status conference or pre-trial conference may be
      considered an abandonment or failure to prosecute or defend diligently and the proceeding may be
      dismissed or judgment entered against the defaulting party without a further hearing.

      11. Plaintiffs demanding trial by jury in the bankruptcy court shall file a demand with their complaint. All
      other parties stipulating to trial by jury in the bankruptcy court should file their stipulation not later than the
      date of the status conference.

                                                                    HON. ERNEST M. ROBLES
                                                                    United States Bankruptcy Judge




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      AMENDED ORDER RE TELEPHONIC STATUS CONFERENCE IN ADVERSARY
      PROCEEDINGS

This proceeding having been assigned to Judge Ernest M. Robles, IT IS HEREBY ORDERED:

   1. Unless otherwise ordered all status conferences and continued status conferences
      ("Conferences") in this proceeding shall be conducted by telephone. However, any
      party or counsel may appear in person if they wish. As set forth in paragraph six below,
      if you do not have counsel you must appear in person at the status conference.

   2. Plaintiff shall serve a copy of this order on all defendants, together with the summons
      and complaint. The return proof of service shall indicate such service. In continued
      status conferences and pre-trials, plaintiff shall serve a copy of this order together with
      plaintiff's notice of continued hearing.

   3. Any settlement stipulations or default judgments shall be filed with the Court at
      least 7 days before the status conference or pretrial. If the orders are not timely
      filed, all parties must appear. Parties submitting late stipulations or default
      judgments may be subject to Court Call's regular charges even if the hearing
      never takes place.

   4. Unless otherwise ordered, all applicable Local Bankruptcy Rules remain in force. In
      particular, all parties and counsel are encouraged to review Local Bankruptcy Rules
      7026-1 (early meeting of counsel) and 7016-1 (status conferences and pre-trial
      hearings), and (Third Amended) General Order No. 95-01 ("Adoption of Mediation
      Program for Bankruptcy Cases and Adversary Proceedings").

   5. Except in instances where either the plaintiff or defendant is not represented by
      counsel, conference calls shall be initiated by counsel for the plaintiff and Court Call™
      will coordinate such conference calls. Relevant instructions are attached. Court Call™
      is not affiliated with the U.S. Courts nor has the U.S. government contracted in any way
      with Court Call™. Payment for the conference call shall be the responsibility of the
      parties individually, unless the parties have agreed to other arrangements.

   6. In cases where either the plaintiff or defendant are not represented by counsel the
      parties shall appear in person.


                                        Ernest M. Robles
                                         United States Bankruptcy Judge




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                              INSTRUCTIONS FOR TELEPHONIC APPEARANCES
                                           For Judge Ernest Robles
                             United States Bankruptcy Court, Los Angeles Division


Telephone appearances will be arranged through Court Call™ . Court Call is an independent conference call
company that arranges conference calls nationally for Courts.

It is counsel’s responsibility to schedule their telephonic appearance at least 5 court days prior to the
hearing date by contacting CourtCall at 866-582-6878 or via internet by registering at www.courtcall.com.

Participants automatically scheduled by the Court for the monthly adversary status conference or pre-trial
conference calendar will receive a call from a CourtCall Representative to confirm their telephonic appearance
prior to the date of their hearing.

Written confirmation will be provided for each separate CourtCall Appearance. If you have not received a written
Confirmation, prior to the hearing date, please contact CourtCall immediately or you may be precluded from the
telephone calendar.

It is the participant’s responsibility to dial into to their conference by using the 800 number provided by CourtCall.
The CourtCall Operator will not dial out to connect a participant.

Payment: CourtCall accepts 2 forms of payment:
1) Credit or Debit Card
2) CourtCall Debit Account
***Please contact CourtCall for more detailed information, not the Court.

Do not argue with Court Call or request special treatment. Court Call’s function is no more than to offer you the
opportunity to appear by telephone. Your election to appear by telephone constitutes your agreement for
telephonic appearances.

At the time of the hearing, you will initially be placed in “Listen-only” mode and able to hear all proceedings just as
if you were in the courtroom. Your line will be placed “Live” once the Judge calls your case. Each time a
participant speaks to the Court, he or she must identify themselves for the record. When the Judge informs the
participants that the hearing is completed, the participants may disconnect and the next case will be called.
Please remain on the line if you are appearing on multiple cases on the same calendar.

Telephonic appearances are connected directly with the courtroom’s public address system and electronic
recording equipment so that a normal record is produced. To ensure a quality record, the use of car phones,
public telephone booths, or phones in other public places is prohibited except in the most extreme emergencies.
Participants should be able to hear all parties without difficulty or echo. The system also allows more than one
speaker to be heard so that the Judge can interrupt a speaker to ask a question or redirect the discussion.

Telephonic appearances by multiple participants are only possible when there is compliance with every
procedural requirement. Sanctions may be imposed when there is any deviation from the required procedures or
the Court determines that a person’s conduct makes telephonic appearances inappropriate. Sanctions may
include dropping a matter from calendar, continuing the hearing, proceeding in the absence of an unavailable
participant, a monetary sanction, or a permanent prohibition against a person appearing telephonically.




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                                   FREE LEGAL HELP
 A creditor has sued you in bankruptcy court. You were served with a Summons and Complaint, and
 you must now file an Answer. If you do not file an Answer on time, the court may enter a default
 judgment against you. This means that your debt may not be discharged and you will be responsible
 for paying it back.

          IF YOU CAN NOT AFFORD AN ATTORNEY, FREE LEGAL HELP MAY BE
                                              AVAILABLE.

                                        For more information, call:

                                             Public Counsel’s

                 Debtor Assistance Project Hotline (213) 385-2977, ext. 704




 THE PUBLIC INTEREST LAW OFFICE OF THE LOS ANGELES COUNTY AND BEVERLY
 HILLS BAR ASSOCIATIONS




THE PUBLIC INTEREST LAW OFFICE OF THE LOS ANGELES COUNTY AND BEVERLY HILLS BAR ASSOCIATIONS
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   AYUDA LEGAL GRATUITA
 Su acreedor le ha demandado en la corte de bancarrota. Usted recibió la
 demanda, llamada “Summons” y “Complaint.” Usted debe archivar una
 respuesta a la demanda en la corte. Si no archiva la respuesta a tiempo, la
 corte puede decidir en su contra. Si eso sucede, la deuda no se descargará
 en su caso de bancarrota y Usted será responsable por pagar al acreedor.

          SI LE FALTAN RECURSOS PARA
     CONTRATAR A UN ABOGADO, LLAME A LA
       LINEA DE AYUDA LEGAL GRATUITA.
                              Para mas información, llame al:

                          Proyecto de Ayuda al Deudor
                                       de
                                 Public Counsel
                                (213) 385-2977, ext. 704




         THE PUBLIC INTEREST LAW OFFICE OF THE LOS ANGELES COUNTY AND BEVERLY HILLS BAR ASSOCIATIONS




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